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IN THE UNITED sTATEs DIsTRIcT coURT j,h/`J
FoR THE WEsTERN DIsTRICT oF TENNEssEE"‘“-"“"'” ’ ' ‘ `
WESTERN DIvIsIoN §§ J,M i§ m 31 L§,_

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UNITED srArEs oF AMERICA _: i__ wl .
V.
]AMES ROSS No. 05cr20194-B

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE. DELAY
UNDER THE SPEEDY TRIAL ACT

 

The defendant had previously notified the Court that he is attempting to
obtain private counsel to represent him in this action. The defendant appeared this
day without the benefit of counsel and requested that counsel be appointed

The Court determined that defendant does qualify for court appointed
counsel and appointed an attorney from the Federal Public Defenders office to
represent him.

Pursuant to the Speedy Trial Act, as set out in 18 U.S.C. §3161(h)(8)(B)(iv), the

time period of y@//~§/'/ZO£$ through Q?ZZ;ZM,§ is hereby

excluded to allow defense counsel additional time for effective preparation

 

ARRAIGNMENT IS RESET TO WEDNESDAY, ]UNE 22, 2005 AT 9:30 A.M.

BEFORE MAGISTRATE ]UDGE TU M. PHAM.

This §§ day of il v v~& ,2005.

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UNITED STATES MAGISTRATE ]UDGE 0
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UNITED sTATE DISTRIC COUR - WESTERN D's'TRCT oFTENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20194 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

